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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                          :
Charlie Torres,                           :
                                          : Civil Action No.: 6:17-cv-00297-CEM-KRS
                    Plaintiff,            :
        v.                                :
                                          :
Santander Consumer USA, Inc.; and DOES 1- :
10, inclusive,                            :
                                          :
                    Defendant.            :
                                          :


          NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                DISMISSAL OF ACTION WITHOUT PREJUDICE
                        PURSUANT TO RULE 41(a)

       Charlie Torres (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: July 22, 2017

                                                     Respectfully submitted,

                                                     By: /s/ Stan Michael Maslona
                                                     Stan Michael Maslona, Esq.
                                                     Florida Bar No. 86128
                                                     Lemberg Law, L.L.C.
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                                                     Wilton, CT 06897
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                                                     Facsimile: (203) 653-3424
                                                     Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2017, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the Middle District of
Florida Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By_/s/ Stan Michael Maslona_________

                                                 Stan Michael Maslona, Esq.
